Case 4:18-cV-00256-KGB Document 3 Filed 04/18/18 Page 1 of 2
AO 458 (Rev. 06/09) Appearance of Counsel

UNITED STATES DISTRICT COURT

for the

Eastern District of Arkansas

 

 

JEAN EVANS )
Plaintz_'fj" )
v. ) Case No. 4:18-cv-256-KGB
PETCO AN|MAL SUPF'L|ES STORES, INC._ ET AL )
Defendant )
APPEARANCE OF COUNSEL

To: The clerk of court and all parties of record

I arn admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

Defendantl Petco Anima| SuDD|ies Store. |nc.

Date: 04/18/2018 /s/Jason Goodniqht

Attorney 's signature

Jason Goodnic|ht. ABA #2008112

Printed name and bar number

Two West 2nd Street, Ste. 900, Tu|sa, OK 74103

 

Ada'ress

jgoodnight@tu|sa|awyer.com

 

E-mail address

(918)§33-3_129

Telephone number

(918) 584-3814
FAX number

Case 4:18-cV-OO256-KGB Document 3 Filed 04/18/18 Page 2 of 2

CERTIFICATE OF SERVICE

I hereby certify that on the 18th day of April, 2018, l electronically transmitted the
foregoing document to the Clerk of Court using the ECF System for filing and transmittal of a

Notice of Electronic Filing to the following ECF registrant

Andrew M. Taylor,
Tasha C. Taylor,
TAYLOR & TAYLOR LAW FIRM, P.A.

12921 Cantrell Road, Suite 205
Little Rock, Arkansas 72223
Altorneys for Plaintijj‘

s/Jason Gooa’night, ABA #2008] ]2

